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     Attorney(s) for Rothschild Patent Imaging, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     ROTHSCHILD PATENT               §
10   IMAGING LLC,                    §               Case No: 3:22-cv-02756-WHA
                                     §
11
          Plaintiff,                 §               PATENT CASE
12                                   §
     vs.                             §
13
                                     §
14   PLEX, INC.                      §
                                     §               NOTICE OF VOLUNTARY
15
          Defendant.                 §               DISMISSAL WITH PREJUDICE
16   ________________________________§
17
           Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this
18
     Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil
19
     Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
20
     by the plaintiff without order of court by filing a notice of dismissal at any time before
21
     service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
22
     dismisses this action against Defendant Plex, Inc. with prejudice, pursuant to Rule
23
     41(a)(1)(A)(i) with each party to bear its own fees and costs.
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 1   Dated: July 5, 2022                     Respectfully submitted,
 2
                                             /s/Stephen M. Lobbin
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 8                                           Attorney(s) for Plaintiff

 9
                                CERTIFICATE OF SERVICE
10
           I hereby certify that on July 5, 2022, I electronically transmitted the foregoing
11
     document using the CM/ECF system for filing, which will transmit the document
12
     electronically to all registered participants as identified on the Notice of Electronic
13
     Filing, and paper copies have been served on those indicated as non-registered
14
     participants.
15                                           /s/Stephen M. Lobbin
16                                           Stephen M. Lobbin

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